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        EXHIBIT A
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       PLAINTIFF JOE ANDREW SALAZAR’S UPDATED TRIAL WITNESS LIST

         Pursuant to Federal Rule of Civil Procedure 26(a)(3) and the Court’s Eighth Amended

 Docket Control Order (Dkt. 212), Plaintiff Joe Andrew Salazar (“Salazar”) hereby submits the

 following list of witnesses whom Salazar expects to present at trial other than solely for

 impeachment, either live or by deposition, and those witnesses whom Salazar may call if the need

 arises, either live or by deposition.

         This Trial Witness List does not identify those witnesses whom Salazar may choose to

 cross-examine at trial, either live or by deposition, and Salazar hereby reserves the right to cross-

 examine and/or impeach any witnesses called live or by deposition at trial by any party, regardless

 of whether those witnesses are disclosed on this Witness List, including without limitation by

 counter-designations of proffered deposition testimony. Salazar also reserves the right to present

 witnesses by deposition in the event that they become unavailable for trial. Salazar further reserves

 the right to call, live or by deposition, any witness identified or called at trial by Defendant HTC

 Corporation (“HTC”).

         Additionally, Salazar reserves the right to amend and/or supplement this Witness List to

 add or delete witnesses as allowed by the Court and law, including to add rebuttal witnesses as

 contemplated by the Court’s Eighth Amended Docket Control Order (Dkt. 212), in rebuttal to

 HTC’s case, arguments or evidence, and/or for purposes of authenticating evidence. Salazar notes

 that his identification of any witness listed herein is not an admission that the witness’s testimony

 would be admissible into evidence if proffered by HTC and Salazar reserves the right to withdraw

 or choose not to call any witness identified herein.

         At this time, Salazar identifies the following witnesses for trial in alphabetical order:




                                                   1
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               Name                Will Call   May Call   Live   By Deposition
  Thiru Aranachalum
  W. Christopher Bakewell
  Justin R. Blok                      X                    X
  Thomas J. Brindisi
  Jason CH Chen
  Peter Chou
  Ho, Chia Chu                        X                    X         or X
  John M. DiMatteo                                X
  Sherrie Gietzen
  Steven W. Goldstein
  Dr. Oded Gottesman                  X                    X
  Roy A. Griffin III                  X                    X
  Vineet Gupta
  Lou Lai Jun
  Balamurugan Krishnan
  Hsiu Fen Lai                        X                    X         or X
  Vincent Lam                                     X        X
  Howard Lee                                      X        X
  Jason Lee                                       X        X
  Fred Liu
  Daniel Maloney
  Robert L. Meyers                                X        X         or X
  Luis Molero-Castro                  X                    X
  Sivasubramanian                     X                               X
  Muthukumarasamy
  Francesco Nerieri
  Nigel Newby-house                   X                    X
  Joe Andrew Salazar                  X                    X
  Joseph Sofer                                    X
  E. Earle Thompson                               X
  Michael Wee
  Tung Shan Wei                       X                    X         or X
  Vincent Wei
  Yen Ju Wen
  Andrew Wolfe
  Additional HTC Corporation          X                    X         or X
  30(b)(6) witnesses to be
  produced in response to
  Court’s directives
  Corporate Representative of         X           X
  HTC Corporation that will
  attend trial
  Any witnesses properly                          X        X         or X
  identified by Defendant on its
  witness list
                                           2
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